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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 Valentina Isakina                                  :
 c/o Anthony Law, LLC                               :       Case No.:
 978 S. Front Street                                :
 Columbus, Ohio 43206                               :       Judge
                                                    :
                 Plaintiff,                         :
                                                    :
        -vs.-                                       :       COMPLAINT
                                                    :
 ReAlpha Tech Corp.                                 :
 c/o Advantage Delaware LLC, Statutory              :
 Agent                                              :       JURY DEMAND ENDORSED
 3524 Silverside Road, Ste. 35B                     :       HEREON
 Wilmington, Delaware 19810                         :
                                                    :
        Serve also at:                              :
                                                    :
        ReAlpha Tech Corp.                          :
        6640 Riverside Drive, Ste. 200              :
        Dublin, Ohio 43017                          :
                                                    :
                 Defendant.


       Now comes Plaintiff Valentina Isakina, by and through the undersigned counsel, and for

her Complaint against Defendant ReAlpha Tech Corp. hereby states as follows:

I.     INTRODUCTION & PARTIES

       1.       Plaintiff Valentina Isakina (“Plaintiff”) is an individual and resident of the State of

Georgia.

       2.       Defendant ReAlpha Tech Corp. (“Defendant” or “ReAlpha”) is a Delaware

corporation with its principal place of business in Franklin County, Ohio.

II.    JURISDICTION AND VENUE

       3.       This court has original jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.
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§ 1332, based on the parties’ diversity of citizenship and because the amount in controversy

exceeds $75,000.

        4.      Venue is appropriate in this judicial district pursuant to 28 U.S.C. § 1391 because

a substantial part of the events giving rise to the claim occurred in the Southern District of Ohio,

where Defendant ReAlpha has its principal place of business.

III.   FACTS COMMON TO ALL CLAIMS

        A.      Background

        5.      Plaintiff Valentina Isakina is an experienced and renowned executive in corporate

strategy, digital transformation, private equity, and fundraising. She previously served as advisor

for the office of a former U.K. Prime Minister, as a Fortune 100 executive, as a director on multiple

corporate boards, and has consulted with numerous global corporations. She also holds a CFA

investment designation, making her a “regulated person” with the U.S. Securities and Exchange

Commission.

        6.      Giri Devanur is the CEO and founder of ReAlpha.

        7.      Upon later identified information and belief, Mr. Devanur is under criminal

investigation and currently out on bail for a real estate-related investor fraud in India on allegations

that include stealing about $2,500,000 from American investors. He is charged with: (i) cheating

and dishonesty, inducing delivery of property; (ii) forgery for purpose of cheating, and (iii) using

as genuine a forged document or electronic record (including forgery of government documents),

carrying potential sentences of up to seven years’ incarceration. State of Karnataka, rep. By

Cubbon Park Police Station v. Giri Devanur and Others, Case No. C.C. No 9780/2018.

        8.      ReAlpha is a real estate startup up organization that allegedly uses its artificial

intelligence (AI) “reAlphaBRAIN” model to identify and score investment properties based upon




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predicted short-term rental potential and projected long-term value. A copy of ReAlpha’s “How It

Works” webpage is submitted herewith as Exhibit 1.1

         9.     From there, ReAlpha invites the general public to “[b]uy equity in specific

properties just like [they] would buy stock or shares on Robinhood,” pairing them with “like-

minded investors to form a syndicate,” with ReAlpha retaining a 51% stake in each one. Id.

         10.    In addition to soliciting investments in property syndicates, ReAlpha is raising

substantial sums at its corporate level. A Columbus Dispatch article regarding ReAlpha’s proposed

$75,000,000 “mini-IPO” is submitted herewith as Exhibit 2.2

         11.    ReAlpha’s “mini-IPO” is taking the form of a Regulation A+ with the SEC, which

allows for crowdfunding, the raising of small investments online, and exempts the filer from

certain disclosure requirements.

         B.     ReAlpha Hired Plaintiff as an Advisor with Promises of Additional
                Responsibilities and Equity Compensation.

         12.    In October 2020, Mr. Devanur reached out to Plaintiff to assist him in a startup

venture. Eventually, the discussions transitioned to Plaintiff’s involvement in another one of Mr.

Devanur’s projects, ReAlpha.

         13.    At the time, ReAlpha was in a rough conceptual stage.

         14.    By January 2021, based upon the initial discussions and initial work by Plaintiff,

Mr. Devanur offered Plaintiff various roles in ReAlpha including serving as a cofounder and CFO,

a compensated Advisory Board position, and membership on the Board of Directors with extra

equity compensation to recognize her material contribution.

         15.    Due to Plaintiff’s existing professional commitments, Plaintiff turned down Mr.


1
 https://www.realpha.com/how-it-works
2
 https://www.dispatch.com/story/business/2021/09/30/dublin-firm-realpha-moves-ahead-ambitious-airbnb-
plan/5930705001/


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Devanur’s proposal to grant her 15% of the equity in ReAlpha to serve as cofounder and CFO.

       16.     Plaintiff, nevertheless, agreed to serve as an Advisor in the interim and to serve on

ReAlpha’s Board of Directors, with the compensation terms to be finalized and further subject to

her onboarding due diligence of the company.

       17.     As Plaintiff believed ReAlpha’s finalization of her Board position to be moving

along in good faith, she immediately began to advise the company on strategy, growth, business

model development, providing day-to-day tactical advice, recruiting, financial analysis and

modeling, proprietary intellectual property development (ReAlpha Score), marketing, and

soliciting investment.

       18.      In January 2021, the parties executed a Founder Advisor Agreement (the “FA

Agreement”) as a placeholder, which provided for three hours of services per month (the “FA

Baseline Services”) in return for a 1%, fully diluted common stock that would vest upon “closing

of the sale of the Company or a liquidity event, whichever comes earlier.” A copy of FA

Agreement is attached as Exhibit 3.

       19.     At the time, Plaintiff was providing extensive working support and services well

beyond three hours per month, well beyond the scope of a typical Director, and more in line with

a nonexecutive cofounder.

       20.     As such, the parties agreed that ReAlpha would provide additional compensation

for services beyond the limited scope of the FA Agreement (the “Additional Services”).

       21.     Initially, the agreement was that these Additional Services would be paid at

Plaintiff’s standard market rate. Mr. Devanur, however, later requested and Plaintiff agreed that in

lieu of future payments Plaintiff would receive additional equity, the terms of which would be

negotiated in good faith, as part of the Board appointment and compensation package that was




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being discussed simultaneously.

       22.     On or around January 29, 2021, while Plaintiff was still performing her corporate

due diligence prior to formal acceptance, ReAlpha announced to the public that Plaintiff had

accepted a Director position and began marketing itself accordingly.

       23.     Still believing discussions to be moving ahead in good faith, Plaintiff continued to

provide extensive support to ReAlpha, including recruiting ReAlpha’s first full-time employee, a

CFO who was previously an executive for a global financial corporation.

       24.     During this period, ReAlpha marketed itself and solicited investments with Plaintiff

listed as a Director on its pitch deck, and her personal involvement was indispensable to securing

a pre-seed investment (a “liquidity event” per the FA Agreement).

       25.     Based in part on Plaintiff’s work, Mr. Devanur estimated ReAlpha’s full potential

value to be over $1,000,000,000.

       C.      Plaintiff Discovered Shoddy Corporate Governance with ReAlpha; Mr. Devanur
               Terminated Her in Retaliation.

       26.     By March 2021, Plaintiff had uncovered some concerning issues in her due

diligence of ReAlpha.

       27.     ReAlpha had no directors & officers insurance policy to shield them from potential

liability. ReAlpha’s corporate documents were inconsistent. It had loose corporate bylaws, had

conducted no Board meetings, had no meeting minutes, and had multiple conflicting capitalization

tables. In addition, ReAlpha had no documentation that it had even authorized the shares issued

by Mr. Devanur thus far, potentially invalidating all advisor and investor agreements to that date.

       28.     Mr. Devanur was running ReAlpha as if he were a sole proprietor.

       29.     As Plaintiff expressed these concerns, Mr. Devanur tried to speed up her acceptance

of his Board appointment proposal and urged her to accelerate ReAlpha’s fundraising efforts.



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       30.     On March 28, 2021, Plaintiff sent Mr. Devanur the final draft of the Board

appointment letter, incorporating several essential corporate governance recommendations and

proposing additional equity per the parties’ discussions. The correspondence also indicated that

ReAlpha would need to stop soliciting investments until it addressed the governance issues, and

that existing investors needed to be made aware of them as well. Plaintiff further proposed to take

the Chair of the Board role so that she could assist the Company in these matters more directly.

       31.     Mr. Devanur dismissed the proposal, unilaterally retracted the offer to join the

Board, and refused to address any additional equity compensation for Plaintiff.

       32.     By April 6, 2021, Plaintiff raised her concerns to a ReAlpha Director-investor, who

admitted that no Board meetings had taken place to date. The Director agreed to address these

corporate governance and investor protection issues and said they needed her on the Board because

of her corporate governance skills, among others. Plaintiff and the Director agreed that ReAlpha

would hire a legal team to conduct a governance clean up and that Plaintiff would wait to hear on

the resolution before continuing her fundraising efforts.

       33.     On April 20, 2021, not having heard back on the next corporate governance steps,

Plaintiff contacted Mr. Devanur and attempted to resolve compensation uncertainties.

       34.     On April 23, 2021, Mr. Devanur, unilaterally and in retaliation of Plaintiff’s actions

on governance issues, terminated Plaintiff’s FA Agreement.

       D.      ReAlpha Refuses to Recognize Plaintiff as a Shareholder.

       35.     Within about a month after ReAlpha terminated Plaintiff, it raised several million

dollars from investors (another “liquidity event”), in part due to Plaintiff’s contribution to

ReAlpha.

       36.     Additionally, and as stated above, ReAlpha is seeking to raise up to an additional




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$75,000,000 per a Regulation A+ investor offering.

       37.     Plaintiff estimates ReAlpha’s current value to be above $30,000,000.

       38.     To date, ReAlpha does not recognize Plaintiff as a shareholder, not even for the 1%

fully diluted common stock interest which vested upon the occurrence of a “liquidity event.”

IV.    CAUSES OF ACTION

                               Count One – Declaratory Action

       39.     Plaintiff restates the allegations set forth in the preceding Paragraphs as if fully

rewritten herein.

       40.     A controversy has arisen concerning the existence, provisions, meaning, and

interpretation of the FA Agreement, including whether or not Plaintiff’s 1% fully diluted common

stock interest had vested.

       41.     A declaration of the existence, provisions, meaning, and interpretation of the FA

Agreement is necessary to resolve this controversy.

                               Count Two – Breach of Contract

       42.     Plaintiff restates the allegations set forth in the preceding Paragraphs as if fully

rewritten herein.

       43.     Plaintiff and Defendant entered into the FA Agreement.

       44.     Plaintiff has performed and/or exceeded the performance according to the terms of

the FA Agreement.

       45.     Defendant breached the FA Agreement in ways including, but not limited to, not

granting Plaintiff her 1% fully diluted common stock interest in ReAlpha.

       46.     In addition to her other rights and remedies as a result of Defendant’s breach,

Plaintiff seeks the remedy of specific performance of her right to the 1% fully diluted common




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stock interest in ReAlpha. The shares are unique and monetary damages are unavailable and/or

incalculable.

                               Count Three – Breach of Contract

         47.    Plaintiff restates the allegations set forth in the preceding Paragraphs as if fully

rewritten herein.

         48.    Plaintiff and Defendant agreed that Plaintiff would be entitled to additional equity

compensation in ReAlpha for the Additional Services and for her serving on the Board of

Directors.

         49.    Plaintiff performed in accordance with the terms of the agreement by providing

services well beyond those contemplated by the FA Agreement, in anticipation of joining the

Board.

         50.    Defendant breached the terms of the agreement by retaliating against Plaintiff for

raising investor concerns and not offering any extra shares in ReAlpha as agreed based upon the

value of the contribution by Plaintiff.

         51.    As a result of Defendant’s breach, Plaintiff has been damaged in an amount

exceeding $75,000.

                               Count Four – Promissory Estoppel

         52.    Plaintiff restates the allegations set forth in the preceding Paragraphs as if fully

rewritten herein.

         53.    Defendant made clear and unambiguous promises to issue additional compensation

to Plaintiff in return for Plaintiff’s services performed beyond the scope of the FA Agreement.

         54.    Plaintiff relied upon Defendant’s promises to her detriment.

         55.    Plaintiff’s reliance on Defendant’s promises was both reasonable and foreseeable.




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       56.     Plaintiff is entitled to restitution for actions taken as a proximate result of her

reliance on Defendant’s promises.

                               Count Five – Unjust Enrichment

       57.     Plaintiff restates the allegations set forth in the preceding Paragraphs as if fully

rewritten herein.

       58.     Plaintiff conferred a benefit upon Defendant, with Defendant’s knowledge, in ways

including, but not limited to, performing services beyond the scope of the FA Agreement.

       59.     Defendant knew that Plaintiff performed those services with the expectation of

payment of reasonable value.

       60.     Defendant had reasonable opportunity to prevent Plaintiff from performing the

services.

       61.     It would be unjust to allow Defendant to retain the benefit conferred by Plaintiff

without compensation of reasonable value.

V.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests the following relief:

       A.      A declaration of the existence, provisions, meaning, and interpretation of the FA

Agreement;

       B.      Specific performance awarding Plaintiff the fully diluted common stock interest in

ReAlpha to which she is entitled;

       C.      In the alternative, monetary damages in an amount to be determined at trial, but in

any event in excess of $75,000; and

       D.      Awards of punitive damages, attorney fees and costs, prejudgment interest, and

such other relief as the Court deems equitable and just.




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                                                       Respectfully submitted,


                                                       /s/ Vincent P. Zuccaro
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                                                       Vincent P. Zuccaro (0085484)
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                                                       Columbus, Ohio 43206
                                                       (614) 340-0011
                                                       (614) 675-9978 FAX
                                                       mja@anthonylawllc.com
                                                       vpz@anthonylawllc.com
                                                       Attorneys for Plaintiff


                                       JURY DEMAND

      Plaintiff demands a jury of no fewer than eight jurors on all triable issues of fact.


/s/ Vincent P. Zuccaro
Vincent P. Zuccaro (0085484)




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